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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                    CORPUS CHRISTI DIVISION

ADAN DELEON                                   §
                                              §
VS.                                           §       CIVIL ACTION NO. 2:21-cv-00143
                                              §       JURY TRIAL
                                              §
                                              §
NUECES COUNTY, TEXAS, and                     §
BOBBY JOE BENAVIDES, Individually             §


                                   NOTICE OF APPEARANCE

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       NOW COMES Defendant, Nueces County, Texas, and files its designation of lead counsel,

and in support thereof, respectfully shows:

1.     Defendant designates Nicole Reustle as lead counsel.

2.     Nicole Reustle is a member in good standing with the State Bar of Texas and is admitted

to practice before this Court.

3.     Her Texas bar number is 24108474 and her Southern District of Texas admission number

is 3543292. Her office information is: 901 Leopard St., Room 207, Corpus Christi, TX 78401;

Telephone:      (361)      888-0391;     Facsimile:       (361)     888-0577;   and    E-mail:

nicole.reustle@nuecesco.com.

4.     Nicole Reustle requests service of all communications from the Court.


                                                      Respectfully submitted,

                                                      JENNY P. DORSEY
                                                      NUECES COUNTY ATTORNEY

                                                      /s/ Nicole Reustle
                                                      Nicole Reustle
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                                                   Assistant County Attorney
                                                   Southern District No. 3543292
                                                   State Bar No. 24108474
                                                   nicole.reustle@nuecesco.com

                                                   Matthew Dennis
                                                   Assistant County Attorney
                                                   Southern District No. 3676815
                                                   State Bar No. 24080168
                                                   matt.dennis@nuecesco.com
                                                   901 Leopard Street, Room 207
                                                   Corpus Christi, Texas 78401
                                                   Telephone: (361) 888-0391
                                                   Facsimile: (361) 888-0577

                                                   ATTORNEYS FOR NUECES COUNTY,
                                                   TEXAS


                           NOTICE OF ELECTRONIC FILING

I HEREBY CERTIFY that I submitted electronically for filing a true and correct copy of this
document in accordance with the Electronic Case File System of the Southern District of Texas on
May 10, 2022.
                                                          /s/ Nicole Reustle
                                                          NICOLE REUSTLE


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of this document was served
electronically via CM/ECF on May 10, 2022 as follows:

       Christopher J. Gale
       Amie Augenstein
       GALE LAW GROUP, PLLC
       P.O. Box 2591
       Corpus Christi, Texas 78403

                                                           /s/ Nicole Reustle
                                                           NICOLE REUSTLE




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